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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                -against-                                        No. 19-CR-131 (PAE)

 DWAYNE CONLEY,                                                  ORDER

                       Defendant.




       WHEREAS, the Court and the parties seek to ensure that Dwayne Anthony Conley has

meaningful access to review discovery and other case materials while detained at the

Metropolitan Correctional Center (“MCC”); and

       WHEREAS, the Court seeks to ensure that such discovery access does not jeopardize

the security and operational interests of the MCC;

       IT IS HEREBY ORDERED that

           1. Mr. Conley may have access to an “air-gapped” laptop computer (the “Laptop”)

               that is disabled from accessing the internet, local area networks, or other

               electronic devices;

           2. Upon receipt of an acceptable laptop computer from counsel for Mr. Conley, the

               Government shall (a) ensure that the laptop is appropriately “air gapped” and

               compatible with the MCC’s security requirements; (b) load the laptop with the

               non-sensitive and non-confidential discovery in this case; and (c) deliver the

               laptop to the proper authorities at the MCC within 72 hours of completing the

               tasks described in 2(a);

           3. The Laptop shall be password-protected and maintained in a location acceptable

               to MCC personnel;
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 4. MCC personnel will provide Mr. Conley with access to the Laptop in the law

    library, attorney conference rooms or, if they are not available, another area

    mutually acceptable to Mr. Conley and MCC, for at least 5 hours each weekday

    (except on public holidays), for a total of 25 hours per week. The MCC is not

    required to provide Mr. Conley with laptop access on a public holiday, provided

    that the MCC ensures that Mr. Conley receives a minimum of 25 hours of laptop

    access during the week which the public holiday falls.

 5. This Order remains in effect until the trial in this matter is completed and a copy

    of this Order shall be made available to any unit where Mr. Conley is housed;

 6. Mr. Conley may use the Laptop for the sole purpose of reviewing discovery and

    legal materials that relate to his criminal case. He shall not share the Laptop or

    the materials loaded onto the Laptop with other inmates or with any attorney not

    appointed to this case without an order of this Court. He will not access or

    attempt to access the internet or any form of wireless communication. He will

    forfeit his right under this Order to use the Laptop, and he may expose himself to

    criminal prosecution for possessing or distributing a “prohibited object” as that

    term is defined in 18 U.S.C. § 1791(d) in the future, should he violate any of

    these understandings.

 7. Within forty-eight hours of the MCC’s receipt of the Laptop from the

    Government, Mr. Conley shall receive access to the Laptop. Mr. Conley shall

    not have possession of any charging apparatus or cord that connects to the

    laptop.
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Dated:       New York, New York
                      11 2021
             January ____,           SO ORDERED


                                         PaJA.�
                                     The Honorable Paul A. Engelmayer
                                     United States District Court
                                     Southern District of New York
